
699 S.E.2d 923 (2010)
STATE of North Carolina
v.
David John WILLIAMS.
No. 33P10.
Supreme Court of North Carolina.
June 16, 2010.
Daniel P. O'Brien, Assistant Attorney General, for State of North Carolina.
Jarvis John Edgerton, for David John Williams.

ORDER
Upon consideration of the petition filed on the 22nd of January 2010 by State of NC in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 16th of June 2010."
Upon consideration of the petition filed by State of NC on the 22nd of January 2010 for Writ of Supersedeas the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
*924 "Denied by order of the Court in conference, this the 16th of June 2010."
